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17
                       IN THE UNITED STATES DISTRICT COURT
18
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                   SOUTHERN DIVISION
20
        MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
21      a Delaware corporation; and           )
        CERCACOR LABORATORIES, INC.,          ) PLAINTIFFS’ OPPOSITION TO
22      a Delaware corporation                ) DEFENDANT APPLE INC.’S
                                              ) MOTION FOR PARTIAL
23               Plaintiffs,                  ) SUMMARY JUDGMENT ON
                                              ) PLAINTIFFS’ TRADE SECRET
24          v.                                ) CLAIM AND PLAINTIFFS’ LOST
                                              ) PROFITS DAMAGES THEORY
25      APPLE INC., a California corporation )) Date:        February 6, 2023
26               Defendant.                   )  Time:       1:30 p.m.
                                              ) Location: Courtroom 10C
27                                            )
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28                       PROPOSED TO BE FILED UNDER SEAL
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1                                       I.      INTRODUCTION
2            Apple’s Motion misrepresents the law and seeks to impose requirements on trade
3      secret plaintiffs that simply do not exist. Nothing requires a trade secret plaintiff
4      establish possession/ownership by identifying the trade secret in a single document.
5      Likewise, nothing requires trade secret co-plaintiffs allocate legal title between them,
6      especially here where the Plaintiffs collaboratively developed the trade secrets. Apple
7      likewise argues for a categorical rule that “ideas” cannot be trade secrets, a notion the
8      California Court of Appeal has rejected. Apple also ignores settled law that expert
9      testimony is not required to establish lost profits.
10           Apple then rests its case on its experts’ opinions while ignoring contrary evidence.
11     Apple ignores many documents corroborating Plaintiffs’ possession/ownership. Apple
12     even ignores that some trade secrets are shown in a single document or used in a product.
13     The evidence shows Apple itself recognized the trade secrets are far from “general”
14     ideas. Indeed, Apple did not recognize any of the trade secrets before Plaintiffs’ former
15     employees revealed them to Apple. Finally, the evidence Plaintiffs will present at trial
16     will allow the jury to calculate lost profits with simple arithmetic.
17                                        II.    ARGUMENT
18     A.    Fact Issues Preclude Summary Judgment On Possession/Ownership
19           Apple’s Motion is based on incorrect legal standards. Even under Apple’s
20     proposed standards, fact issues exist on possession/ownership.
21               1. Apple Advocates Incorrect Legal Standards
22                  a.     Plaintiffs Need Not Show Their Trade Secrets Are Contained In
23                         A Single Document
24           Apple repeatedly argues Plaintiffs did not identify “a single pre-litigation
25     document that clearly describes” the text of any trade secret. Mot. 1, 5-6. Apple cites
26     no authority requiring such a document. Nor can it. The California Uniform Trade
27     Secrets Act (“CUTSA”) broadly defines a trade secret as “information.” Cal. Civ. Code
28     § 3416.1(d). The statute does not require a single document contain the information. In

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1      Morlife, Inc. v. Perry, 56 Cal. App. 4th 1514, 1518, 1521 (1997), the court affirmed
2      misappropriation of a trade secret, which included both a “collection” of business cards
3      and “knowledge” about customers. Id. The court explained, “to afford protection to the
4      employer, the information need not be in writing but may be in the employee’s memory.”
5      Id. (quoting Greenly v. Cooper, 77 Cal. App. 3d 382, 392 (1978)).
6             In UniRAM Tech., Inc. v. Taiwan Semiconductor Mfg. Co., the defendant moved
7      for summary judgment because “not a single document UniRAM relies on to support
8      disclosure of its alleged trade secrets recites all of the features for a given combination
9      secret.” 617 F. Supp. 2d 938, 941 (N.D. Cal. 2007). The court denied the motion,
10     holding “a unified description in a single integrated document . . . is unnecessary.” Id.
11     at 943.
12                  b.     Plaintiffs Need Not Show Which Of Them Owns Each Trade
13                         Secret
14            Apple argues Plaintiffs have not established “which entity owned which trade
15     secret.” Mot. 13. Apple claims it is “plainly insufficient” to contend the trade secrets
16     are owned by “Masimo and/or Cercacor.” Id. at 15. But Apple gives no reason why co-
17     plaintiffs would need to allocate legal title as an element of their claim. And this Court
18     rejected the same argument in ruling on Apple’s motion to dismiss. Dkt. 264 at 9. The
19     Court observed, Apple “cited to no law requiring that plaintiffs suing together specify
20     which of them owns a particular trade secret.” Dkt. 264 at 9. Apple still cites no such
21     law.
22            Lacking legal authority, Apple asserts the purported obligation to identify
23     “which” plaintiff “owns” each trade secret “springs from CUTSA’s undisputed
24     requirement to show possession.” Mot. 11 n.3.1 Apple cites nothing in CUTSA
25
26
27     1
        Emphasis is added unless noted otherwise. Numbered exhibits are attached to the
28     Passamaneck Declaration and lettered exhibits are attached to the Hughes Declaration.

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1    requiring co-plaintiffs to identify which one “owns” or “possesses” a trade secret.
2    Regardless, as discussed in §II.A.2 below, Plaintiffs show possession and ownership.
3          Moreover, Apple has not argued any unnamed party has rights in the trade secrets.
4    Plaintiffs can each assert trade secret misappropriation, whether as owner or licensee.
5    BladeRoom Grp. Ltd. v. Facebook, Inc., 219 F. Supp. 3d 984, 990-91 (N.D. Cal. 2017).
6    Apple’s liability does not depend on whether Masimo or Cercacor’s interest is as a sole
7    owner, co-owner, or licensee. Allocation is irrelevant because all potential owners are
8    before the Court.2
9          Even if some ownership dispute existed between Plaintiffs, it would affect only
10   how to allocate any recovery; it would not be a failure of proof or a defense. See Bank
11   One Tex., N.A. v. Leaseway Transp. Corp., 137 F.R.D. 631, 633-34 (D. Mass. 1991)
12   (whether plaintiff would have to share recovery with others “does not affect liability”
13   but only “how to divide the spoils of litigation”). The Bank One logic applies even more
14   forcefully here because Apple does not contend a third party may be entitled to a portion
15   of Plaintiffs’ recovery. Cf. Jasmine Network, Inc. v. Superior Court, 180 Cal. App. 4th
16   980, 1009-10 (2010) (defendants can use joinder to avoid inconsistent judgments).
17         Multiple plaintiffs can assert misappropriation of the same trade secret because
18   “[m]ultiple entities [] can possess the same trade secret, so long as the knowledge is not
19   ‘generally known.’” Williams-Sonoma Direct, Inc. v. Arhaus, LLC, 304 F.R.D. 520, 528
20   (W.D. Tenn. Jan. 30, 2015). Where, as here, multiple plaintiffs “possess trade secrets
21   that they have alleged were misappropriated[,]” both plaintiffs have “the substantive
22   right to pursue their trade secrets claims[.]” Id. (analyzing Tennessee statute); see also
23   Strikepoint Trading, LLC v. Sabolyk, 2008 WL 11334084, at *6 n.2 (C.D. Cal. Dec. 22,
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26     Plaintiffs’ employees assigned the trade secrets to their respective employers, and
     agreed to safeguard Plaintiffs’ confidential information. See, e.g., Ex. OOO; see also
27
     Ex. QQQ at 25:24-26:15; Ex. ZZZZ; Ex. AAAAA at 125:21-126:14. Apple has never
28   disputed that Plaintiffs’ employees assigned any trade secret rights to Plaintiffs.

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1    2008) (suggesting that naming both potential owners as plaintiffs would moot argument
2    as to which one was the owner).
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10         Apple argues Plaintiffs presented no evidence that either Plaintiff accessed trade
11   secrets under the agreement. Mot. 11-12. That is irrelevant and inconsistent with
12   BladeRoom, which held a licensee with an obligation to maintain confidentiality has
13   possession and can sue. 219 F. Supp. 3d at 990-91.
14         Apple cites three cases that all support Plaintiffs. Mot. 3. One explained a
15   “license for [plaintiff’s] benefit” would have avoided “any dispute about lawful
16   possession” of the trade secret. Advanced Fluid Sys. Inc. v. Huber, 958 F.3d 168, 178
17   (3d Cir. 2020). The others found that where, as here, individuals created the trade secret
18   and assigned their rights, the assignee is the proper plaintiff. Tang v. E. Va. Med. Sch.,
19   2022 WL 981942, at *10 (E.D. Va. Mar. 30, 2022); BlueEarth Biofuels, LLC v.
20   Hawaiian Elec. Co., 2011 WL 2116989, at *21 (D. Haw. May 25, 2011).
21                c.    Possession Often Shows Ownership
22         “As a starting point for analysis of ownership, the general principle is that one
23   who discovers, develops, or compiles a trade secret is the owner of the trade secret.”
24   Trade Secrets Practice in California § 2.1 (2d Ed. Nov. 2018). Because Plaintiffs
25   created and lawfully possess the trade secrets, they are the owners.
26         Apple incorrectly argues “the law requires more” than possession. Mot. 12. But
27   Apple never addresses what it means to “own” a trade secret. Trade secrets are not
28   “owned” in the same way as other property. Even the “owner” of a trade secret cannot

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1    exclude others from independently creating the same information. Rather, trade secrets
2    “protect[] only the right to control the dissemination of information.” Silvaco Data Sys.
3    v. Intel Corp., 184 Cal. App. 4th 210, 221 (2010).
4          Thus, “possession” is the first element of a CUTSA claim. Id. at 220; see Cedars
5    Sinai Med. Ctr. v. Quest Diagnostic Inc., 2019 WL 12521480, at *5 (C.D. Cal. Aug. 9,
6    2019) (agreeing “possession is sufficient as long as secrecy is maintained”). Apple’s
7    own cited authority explained the reasons why a “per se ownership requirement” is
8    “flawed” and “not the sole kind of interest that is relevant and subject to protection.”
9    AFS, 958 F.3d at 177-78. Cedars explained that other cases’ discussion of “ownership”
10   (and the CACI jury instruction mentioning ownership) as an element is shorthand for
11   possessing the trade secret and having the right to prevent dissemination. 2020 WL
12   10460620 at *4-5; BladeRoom, 219 F. Supp. 3d at 990 (“the first element of a prima
13   facie misappropriation claim under CUTSA” is “traditionally and perhaps over-
14   simplistically phrased in terms of ‘ownership.’”).
15         Apple cites two cases referring to “ownership” as an element as shorthand, just as
16   explained in BladeRoom. Mot. 12 (AMN Healthcare and Sargent Fletcher). Apple also
17   cites Mattel, Inc. v. MGA Ent., Inc., 782 F. Supp. 2d 911, 960 (C.D. Cal. 2011), but that
18   decision expressly declined to decide if a distinction exists between “ownership” and
19   “possession.” Id. at 960-61. The dispute concerned whether the employee assigned the
20   trade secret to the employer, such that the employer had possession or ownership. Id. at
21   960-61, n.13. The court referred that question to the jury. Id. at 945-47.
22                d.    Fact Witnesses Need Not Testify On Legal Contentions
23         Apple argues Plaintiffs’ witnesses could not “identify or describe” the trade
24   secrets. Mot. 5-6. But Apple’s questions called for legal contentions about trade secrets.
25   Ex. 11 at 35:17-36:2; Ex. 14 at 18:11-19:7, 23:13-25:12, 96:6-24. Plaintiffs’ witnesses
26   explained they were prepared to answer facts about Plaintiffs’ confidential information
27   but did not feel comfortable providing legal contentions. See, e.g., Ex. 11 at 39:21-
28   40:11; Ex. 14 at 18:6-19:25, 23:13-24:15, 24:23-25:12, 96:6-97:5. Apple chose to ask

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1    only about contentions even though the Special Master told Apple such questions are
2    inappropriate. Dkt. 894 at 5 (citing this Court’s instruction in another case “to refrain
3    from asking ‘improper-contention questions’”). Apple thus confuses the witnesses’ lack
4    of knowledge about legal contentions with lack of knowledge about underlying facts.
5                                                                                          Ex.
6    10 at 33:25-34:22; Ex. 12 at 41:9-19; Ex. 13 at 42:20-25; Ex. 11 at 38:2-6; Ex. 14 at
7    17:17-18:5, 25:21-26:8, 28:3-20; Ex. 28 at 81:18-87:4. As discussed, CUTSA does not
8    require writing down trade secrets, much less maintaining a list. Apple’s other citations
9    do not support its argument. Ex. 12 at 47:4-51:22 (memorizing trade secret definitions);
10   Ex. 11 at 38:20-39:19 (discussing trade secrets in the course of business); id. at 38:6-19
11   (procedures to maintain confidentiality); Ex. 14 at 27:16-28:2 (memorizing whether
12   Plaintiffs filed for patents); id. at 97:6-99:8 (policies to track trade secrets).
13             2. Plaintiffs Presented More Than Sufficient Evidence For A Jury To
14                 Find Possession/Ownership
15          Apple incorrectly suggests Plaintiffs crafted their trade secrets based on Apple’s
16   confidential documents. Plaintiffs identified their trade secrets before receiving Apple’s
17   confidential information.3 Apple refused to produce any documents until Plaintiffs
18   identified the trade secrets. Dkt. 123-1 at 2-4 (describing history of dispute and Court’s
19   warnings to Apple). Evidence showing possession/ownership is discussed below.
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      The Court later allowed Masimo to add LP-5, 7, and 8. Dkt. 668 at 6-9. Masimo made
28   some other amendments, including in response to the Court’s direction. Dkt. 219.

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3          Apple raises several arguments that lack merit.
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10         Second, Apple claims Sarrafzadeh opined that Plaintiffs failed to demonstrate
11   possession. Mot. 3 (citing Ex. 17 ¶¶23-25). But the paragraphs Apple cites do not
12   address possession. Rather, they address whether trade secrets were “generally known”
13   (¶23), criticize evidence of Plaintiffs’ investments (¶24), and
14                                                                                 (¶25).
15         Third, Apple argues Plaintiffs improperly relied on “isolated emails, code
16   snippets, or notebook entries.” Mot. 4. As explained in Plaintiffs’ co-pending summary
17   judgment motion, the documents are part of the development process for the Pronto-7.
18   Ex. L at 3, 8-13. Madisetti explained how the evidence shows Plaintiffs’ employees
19   developed each trade secret. Ex. 15 ¶¶106-46, 185-91, 212-28, 251-54, 278-90, 311-13,
20   334-35, 357-58, 379-80, 403-04, 428-29.
21         Fourth, Apple relies on Sarrafzadeh’s flawed analysis of D-1. Mot. 3-4. Contrary
22   to Apple’s argument, trade secrets need not be in a single document. See supra §II.A.1.a.
23   Regardless,
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13         Apple argues Plaintiffs failed to show SP-5 and SP-6 for the same reasons as SP-
14   4. Mot. 8. That argument fails for the same reasons as SP-4.
15               d.    Business and Marketing Strategies
16         Apple argues Masimo has no evidence it “practic[ed]” its business and marketing
17   (“B&M”) trade secrets. Mot. 9. But Apple’s expert, Ran Kivetz,
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27   And Apple identified no evidence Masimo obtained its trade secrets from anyone else.
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1          Plaintiffs’ expert, Robert Palmatier, explained in detail the evidence showing
2    Masimo developed and used the B&M trade secrets. Ex. 20 ¶¶64-91, 255-68, 337-47,
3    429-37, 521-28; see also Ex. X. Rather than identify contrary evidence, Apple’s experts
4    criticized Masimo’s showing. See, e.g., Ex. Y at 179
5                                                             The jury is free to reject Apple’s
6    criticisms and accept Masimo’s opinion and evidence.
7          Apple argues Masimo’s documents do not establish possession. Mot. 8-10.
8    Again, documents are not required. Indeed,
9
10                          Ex. AA at 31:16-32:4, 34:8-11. Regardless, Masimo relied on
11   many contemporaneous documents substantiating Masimo’s development and
12   possession of the B&M trade secrets. Ex. 20 ¶¶64-91, 255-68, 337-47, 429-37, 521-28;
13   Exs. EE-FF; Ex. GG at 16-28, 33-35, 37-39, 44-45, 60, 65-67, 71-73, 76, 86-89, 373-
14   76; Ex. HH at -482-86; Ex. II at -252, -254; Ex. JJ at -758-59; Ex. KK; Ex. LL; Ex. MM
15   at -697; Ex. NN at -525; Ex. OO; Ex. PP; Ex. QQ at -311; Ex. RR at -915-16; Ex. SS at
16   -298; Ex. TT at -234; Ex. UU; Ex. VV; Ex. WW at -559, -583-584; Ex. XX at -434.
17         Kiani also explained in detail how Masimo developed its trade secrets. Ex. 10 at
18   156-57, 199-200, 260, 276-77, 310-12, 313-18, 321, 323-25.
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21                                 Ex. 20 ¶¶64-68; Ex. JJ; Ex. 10 at 260, 276.
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23                                            Ex. 20 ¶72; Ex. YY at 49-52.
24         Apple further argues Masimo’s “own products” “of course, do not identify a
25   particular business strategy.” Mot. 9.
26
27                                                Apple cannot maintain Masimo purportedly
28   disclosed its trade secrets through its sale of products, but never possessed them.

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1                e.     Strategies for Interacting With Hospitals
2          Palmatier identified extensive evidence of Masimo’s development and use of its
3    hospital interaction trade secrets. Ex. 20 ¶¶592-617; Ex. ZZ at -668, -670, -672-673;
4    Ex. AAA at -007; Ex. BBB at -900; Ex. CCC; Ex. DDD; Ex. EEE; Ex. FFF at -583; Ex.
5    GGG at -935; Ex. HHH at -221, -225; Ex. III at -008; Ex. 10 at 326-29, 333-35; Ex. GG
6    at 16-18; Ex. YY at 62-65, 71-73, 76-77, 79.
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8
9                                                           Ex. ZZ at -668, -670, -672-73;
10   Ex. AAA at -007; Ex. BBB at -900; Ex. CCC; see Ex. 20 ¶¶604-09. Apple cites no
11   contrary evidence. Instead, Apple again merely criticizes Masimo’s showing. Each of
12   Apple’s criticisms are unfounded.
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4                                                            Id. Masimo identified evidence
5    satisfying this requirement. See Ex. 20 ¶¶596, 598, 607, 610, 615-16; Ex. YY at 63-64,
6    79; Ex. ZZ at -673; Ex. BBB; Ex. EEE at 181-82, 187-89; Ex. DDD at -456.
7    B.    Fact Issues Preclude Summary Judgment On Trade Secret Protectability
8              1. Even General Ideas Can Be Protectable
9          Apple argues trade secrets can never be “general ideas.” Mot. 13-16. The
10   California Court of Appeal explained that “protectable ‘information’” under CUTSA
11   can include a “general idea.” Altavion, Inc. v. Konica Minolta Sys. Lab’y, Inc., 226 Cal.
12   App. 4th 26, 56 (2014) (but finding “general idea” there not protectable because it was
13   “disclosed to other companies without the benefit of an NDA”). Thus, “trade secrets
14   fall into a continuum, from something as high level as a general idea, down to mid-level
15   concepts for developing and implementing the general idea, and finally ending at the
16   granular information such as source code and algorithms that would consummate what
17   had started as a general idea.” BladeRoom Grp. Ltd. v. Facebook, Inc., 2017 WL
18   2224838, at *2 (N.D. Cal. May 22, 2017) (citing Altavion, 226 Cal. App. 4th at 56).
19   “Even an ‘idea,’ if not known to the public, protected from disclosure, having economic
20   value, etc., might be adjudged a trade secret.” BladeRoom, 2017 WL 2224838, at *2.
21         Apple cites XpertUniverse, Inc. v. Cisco Sys., Inc., 2013 WL 867640, at *3 (D.
22   Del. Mar. 8, 2013), but that case relies on imprecise language from another case
23   (Silvaco) in asserting “ideas” are not protectable. The California Court of Appeal has
24   since explained that language from Silvaco “is easily misunderstood.” Altavion, 226
25   Cal. App. 4th at 54. Altavion clarified, “Silvaco plainly does not hold that secret ideas
26   are not protectable under trade secret law…” Id. If an idea is kept secret, the idea itself
27   can constitute information protectable by trade secret law. Id. at 55.
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1          Apple also claims “this Court recently observed, ‘[i]deas or concepts are not, in
2    and of themselves, trade secrets.’” Mot. 2, 13 (citing True Wearables Op. ¶99). Apple
3    omits that this Court was quoting from Agency Solutions.Com, LLC v. TriZetto Grp.,
4    Inc., 819 F. Supp. 2d 1001, 1016 (E.D. Cal. 2011). Agency also relied on the same
5    imprecise language from Silvaco that Altavion has since clarified. Id. Moreover, this
6    Court did not hold that “ideas” are per se unprotectable in True Wearables. Rather, it
7    addressed a particular trade secret as a factual matter after trial.
8          Apple cites inapposite cases that addressed whether a particular trade secret was
9    generally known on the facts of each case. See Waymo LLC v. Uber Techs., Inc., 2017
10   WL 2123560, at *7 (N.D. Cal. May 15, 2017) (information “known outside of Waymo”);
11   Olaplex Inc. v. L’oreal USA Inc., 855 F. App’x. 701, 710 (Fed. Cir. 2021) (alleged trade
12   secrets reciting “testing and know how” and “dead ends and trials and errors” were
13   widely known); Winston Rsch. Corp. v. Minn. Min. & Mfg. Co., 350 F.2d 134, 139 (9th
14   Cir. 1965) (information was “not secret”).
15         Accordingly, Apple’s approach is legally erroneous and would sidestep the fact-
16   intensive “generally known” inquiry.
17             1. LP-5 Is Protectable
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19                                                                                    Ex. 15
20   ¶¶513-517; Ex. H at 133-36; Ex. I at -787; Ex. MMM ¶¶42-47; Ex. 16 ¶¶643-778.
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5          Apple argues LP-5 would create a “monopoly over broad swaths of other
6    solutions.” Mot. 14. By its nature, trade secret law creates no monopoly. Rather, it
7    protects against the unauthorized acquisition, use, or disclosure of proprietary
8    information. Apple would have been free to recognize the problem on its own. But
9    Apple did not.
10   Ex. LLL; Ex. N at -581.
11
12                              Mot. 14-16. As discussed, ideas can be protectable. Apple
13   relatedly argues a “general description” is insufficient to establish a trade secret. Id. at
14   14. But the cases Apple cites found the plaintiff could not describe the trade secret. See
15   TLS Mgmt. & Mktg. Servs., LLC v. Rodriguez-Toledo, 966 F.3d 46, 53 (1st Cir. 2020)
16   (counsel could not articulate trade secret but generally referred to the record); Freeman
17   Inv. Mgmt. Co. v. Frank Russell Co., 2016 WL 5719819, at *11 (S.D. Cal. Sept. 30,
18   2016) (plaintiff unable to explain “what its trade secrets are”); Imax Corp. v. Cinema
19   Techs., Inc., 152 F.3d 1161, 1167 (9th Cir. 1998) (trade secret on “every dimension and
20   tolerance that defines or reflects [the projector] design” not particular); nSight, Inc. v.
21   PeopleSoft, Inc., 296 F. App’x 555, 560-61 (9th Cir. 2008) (two-sentence trade secret
22   discussion with no analysis); see also Masimo Corp. v. True Wearables, Inc., 2022 WL
23   17083396, at *16 (C.D. Cal. Nov. 7, 2022) (trade secret was “used extensively in every
24   scientific sub-field”).
25         Here, Plaintiffs’ expert explained how Plaintiffs described LP-5 with reasonable
26   particularity. Ex. 15 ¶¶502-58. Apple did not argue Plaintiffs failed to describe LP-5
27   with sufficient particularity when Plaintiffs added it to the case. See Dkt. 650. Nor does
28   Apple attempt to make such a showing here. Instead, it merely proclaims that LP-5 is

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1    not particular. But Apple does not explain that assertion. A trade secret plaintiff is not
2    required “to describe [the trade secret] with the greatest degree of particularity possible,
3    or to reach such an exacting level of specificity that even its opponents are forced to
4    agree the designation is adequate.” Advanced Modular Sputtering, Inc. v. Superior
5    Court, 132 Cal. App. 4th 826, 835-36 (2005).
6          Indeed, “the fact that [Apple was] able to craft detailed arguments for why
7    [Masimo’s] information does not constitute trade secrets means that [Apple] has
8    sufficiently identified that information to [Apple] so that it may investigate the merits of
9    [Masimo’s] claim.” See Prolifiq Software Inc. v. Veeva Sys. Inc., 2014 WL 2527148, at
10   *3 (N.D. Cal. June 4, 2014). Moreover, as Apple’s cited authority explained, whether a
11   trade secret is defined with reasonable particularity may raise a question of fact for the
12   jury. Inteliclear, LLC v. ETC Glob. Holdings, Inc., 978 F.3d 653, 659 (9th Cir. 2020).
13   Here, Apple failed to show the absence of a genuine dispute of fact, particularly in view
14   of Madisetti’s testimony. Ex. 15 ¶¶502-58; see also Ex. NNN at 310-51, 463-66.
15         Finally, Apple argues Plaintiffs should not “be permitted to claim a trade secret
16   broader than [it] possessed” and implies Plaintiffs needs to narrow LP-5 but cannot.
17   Mot. 16. LP-5 accurately reflects both how Masimo implemented it and Apple used it.
18   Ex. 15 ¶¶513-33; Ex. 16 ¶¶643, 645. Apple identified no evidence showing LP-5 is
19   generally known. Plaintiffs have no need to narrow LP-5.
20             2. LP-7 Is Protectable
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23                     Mot. 16-17. This argument fails for multiple reasons. First, Apple
24   mischaracterizes LP-7.
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27         Second, applying this advantage to a particular field can be a trade secret. See
28   Masimo Corp. v. True Wearables, Inc., 2022 WL 205485, at *4 (Fed. Cir. Jan. 24, 2022)

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1    (solver known by statisticians does not make trade secret generally known in relevant
2    field).
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11             Apple argues LP-7 cannot be a trade secret because it does not recite particular
12   “advantages.” Mot. 17. Apple cites no authority supporting its position. As discussed,
13   a trade secret is available for “information” that is not generally known.
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18                3. LP-8 Is Protectable
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20                                         Mot. 17. That is not Plaintiffs’ trade secret.
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23                                                        Exs. XXX-YYY; Ex. 15 ¶629.
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1          Apple relies on its expert, Warren, to argue LP-8 recites “general knowledge in
2    the trade.” Mot. 17-18 (citing Ex. 18 ¶249).
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6                                                              Moreover, merely locating a
7    published document fails to show it is generally known in the industry. True Wearables,
8    2022 WL 17083396, at *9).
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15         Lamego teaching this concept to Apple shows LP-8 is not “general knowledge.”
16   Apple does not allege its engineers had such knowledge before Lamego.
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19         Apple argues Plaintiffs’                                                     trade
20   secrets use impermissible “catchall” language. Mot. 18-21. Apple previously made,
21   and the Court rejected, this same argument. The Court explained Plaintiffs defined the
22        trade secrets sufficiently because
23                                                 Dkt. 273 at 5. The Court further explained
24   “[t]he scope of this phrase is necessary circumscribed by the preceding lists of trade
25   secrets, meaning that it cannot be later used as a means for claiming trade secrets about
26   which Apple does not have notice.” Id. Apple urges the Court to reach a different
27   conclusion based on two incorrect arguments.
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1          First, Apple asserts Plaintiffs’ experts “provide no guidance for how to understand
2    these words.” Mot. 19. Apple tries to distinguish the Court’s prior ruling by asserting
3    that, on summary judgment, the issue is whether Plaintiffs “provided enough evidence
4    to allow a trier-of-fact to understand the scope of those five specific alleged trade
5    secrets.” Mot. 20. Apple does not explain why the jury would need evidence to
6    understand these three plain English words. Nor does Apple offer any reason why
7    Plaintiffs’ experts should have defined those words.
8          Second, Apple tries to distinguish the Court’s ruling by incorrectly asserting the
9    scope of the      trade secrets has “grown murkier” since the Court’s ruling. Mot. 19-
10   21. Plaintiffs narrowed their case during discovery by informing Apple they did not
11   intend to present some trade secrets at trial. Ex. BBBB. Apple asked if Plaintiffs would
12   assert the     of those trade secrets. Id. Plaintiffs responded they would not. Id.
13         Apple also claims Plaintiffs are trying to expand their case by asserting the
14   of “each” trade secret in a category instead of all trade secrets in the category. Mot. 20
15   (emphasis in original). But Apple recognized that was Plaintiffs’ position all along and
16   even made the same argument in its motion to dismiss, which this Court denied. Dkt.
17   237-1 at 3 (Apple arguing Plaintiffs asserted the
18
19   C.    Fact Issues Preclude Summary Judgment On Lost Profits
20         Apple’s Motion assumes the Court will grant its Daubert motion to exclude
21   Kinrich’s damages opinions.      Mot. 21; Dkt. 1114.      As Plaintiffs will explain in
22   opposition, the Court should deny Apple’s Daubert motion.
23         Even if the Court were to grant Apple’s Daubert motion, the Court should still
24   deny summary judgment. Expert testimony is not required for a jury to award
25   damages. DSPT Int’l, Inc. v. Nahum, 624 F.3d 1213, 1223 (9th Cir. 2010); Alpha GRP,
26   Inc. v. Subaru of Am., Inc., 2021 WL 2792433, *1 (C.D. Cal. Apr. 27, 2021) (denying
27   summary judgment because testimony from plaintiffs’ executives may establish
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1    damages); Toyrrific, LLC v. Karapetian, 2019 WL 7188572, *5 (C.D. Cal. Sept. 10,
2    2019) (damages based on personal experience creates genuine dispute of fact).
3          Here, percipient witness testimony and contemporaneous documents show
4    damages.
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15                                             Expert testimony is unnecessary.
16         Apple’s cases do not compel summary judgment because, in both cases, the
17   plaintiff’s only evidence of damages was excluded expert testimony. See ChromaDex,
18   Inc. v. Elysium Health, Inc., 2020 WL 1279236 *8 (C.D. Cal. Jan. 16, 2020); Goodness
19   Films, LLC v. TV One, LLC, 2014 WL 12594201, *4 (C.D. Cal. Aug. 28,
20   2014). Plaintiffs have sufficient evidence even if the Court were to exclude Kinrich.
21                                  III.   CONCLUSION
22         For the reasons above, the Court should deny summary judgment.
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1                                        Respectfully submitted,
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1                                  CERTIFICATE OF COMPLIANCE
2               The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 6,985 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
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